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 1                                                             District Judge Jamal N. Whitehead

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 3
                                 UNITED STATES DISTRICT COURT FOR THE
 4                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 5

 6
     PLAINTIFF PACITO; PLAINTIFF ESTHER;               CASE NO. 2:25-cv-00255
 7   PLAINTIFF JOSEPHINE; PLAINTIFF
                                                       NOTICE OF APPEAL OF PRELIMINARY
     SARA; PLAINTIFF ALYAS; PLAINTIFF                  INJUNCTION
 8   MARCOS; PLAINTIFF AHMED;
     PLAINTIFF RACHEL; PLAINTIFF ALI;
 9   HIAS, INC.; CHURCH WORLD SERVICE,
     INC.; and LUTHERAN COMMUNITY
10   SERVICES NORTHWEST,

11                        Plaintiffs,

12
             v.
13   DONALD J. TRUMP, in his official capacity
     as President of the United States, MARCO
14   RUBIO, in his official capacity as Secretary of
     State, KRISTI NOEM, in her official capacity
15   as Secretary of Homeland Security;
     DOROTHY A. FINK, in her official capacity
16   as Acting Secretary of Health and Human
     Services,
17
                         Defendants.
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24 Notice of Appeal of                                       U.S. Department of Justice
     Preliminary Injunction                                  Civil Division, Office of Immigration Litigation
                                                             P.O. Box 878, Ben Franklin Station
     No. 2:25-cv-00255-JNW                                   Washington, DC 20044
                                                             (202) 305-7234
             Case 2:25-cv-00255-JNW        Document 80      Filed 03/25/25         Page 2 of 2




 1
             PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of Appeals
 2 for the Ninth Circuit from the Court’s March 24, 2025 Order (ECF No. 79) granting Plaintiffs’ motion

 3 for preliminary injunction on supplemental pleading.

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 5           DATED this 25th day of March, 2025.

 6
                                                Respectfully submitted,
 7
                                                YAAKOV M. ROTH
                                                Acting Assistant Attorney General
 8
                                                Civil Division
 9
                                                AUGUST FLENTJE
                                                Acting Director
10
                                                /s/ Nancy K. Canter
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                                                NANCY K. CANTER
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                                                Senior Litigation Counsel
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                                                Attorneys for Defendants
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     Notice of Appeal of                                    U.S. Department of Justice
     Preliminary Injunction                                 Civil Division, Office of Immigration Litigation
24                                                          P.O. Box 878, Ben Franklin Station
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